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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF VIRGINIA
                        ABINGDON DIVISION

UNITED STATES OF AMERICA )
                         )
                         )                   Case No. 1:13CR00036-005
                         )
v.                       )                         OPINION
                         )
THOMAS JOHN DULL,        )                   By: James P. Jones
                         )                   United States District Judge
           Defendant.    )

      Zachary T. Lee, Assistant United States Attorney, Abingdon, Virginia for
United States; Thomas John Dull, Pro Se Defendant.

      The defendant, Thomas John Dull, proceeding pro se, filed a Motion to

Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255, based on

claims of ineffective assistance of counsel. The government filed a Motion to

Dismiss. The time allotted for Dull’s response has expired, making the matter ripe

for disposition. After reviewing the record, I will grant the United States’ Motion

to Dismiss.

                                        I.

      Dull and twelve codefendants were charged in a multi-count Indictment.

Dull was charged with conspiring to distribute and possessing with the intent to

distribute 280 grams or more of cocaine base, and five kilograms or more of

cocaine, in violation of 21 U.S.C. §§ 846, 841(b)(1)(A) and 841(b)(1)(C) (“Count

One”).
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         Dull pleaded guilty, pursuant to a written Plea Agreement, to a lesser-

included offense of Count One. (Plea Agreement 1, ECF No. 273.) The Plea

Agreement provided that the conspiracy involved at least 196 grams of cocaine

base, resulting in a base offense level of 30 under the Sentencing Guidelines. (Id.

at 3.)

         At the guilty plea hearing, Dull affirmed that he had had an adequate

opportunity to read and discuss the Plea Agreement with counsel before signing it.

(Plea Hr’g Tr. 4-5, ECF No. 498.)        Dull further affirmed that he was “fully

satisfied with [his] lawyer’s representation.”       (Id. at 5.)     The prosecutor

summarized the terms of the Plea Agreement. (Id. at 5-7.) Both the prosecutor

and the court advised Dull that he faced a maximum statutory penalty of not more

than twenty years’ imprisonment. (Id. at 5, 8.) Dull affirmed his understanding

that by pleading guilty, he gave up his right to appeal and to collaterally attack his

sentence except on matters that cannot be waived under the law or that allege

ineffective assistance of counsel. (Id. at 7-8.) Dull affirmed that no one had made

any promises to him other than those contained in the Plea Agreement to cause him

to plead guilty and that no one had threatened him or attempted to force him to

plead guilty. (Id. at 8.) I found that Dull was fully competent and capable of

entering an informed plea and that his guilty plea was knowingly and voluntarily

made. (Id. at 13-14.)


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      The probation office prepared a Presentence Investigation Report (“PSR”) in

anticipation of sentencing. The PSR recommended a total offense level of 27 1 and

a criminal history category of IV, resulting in a guideline imprisonment range of

100 to 125 months. (PSR ¶ 82, ECF No. 364.) I sentenced Dull to 92 months’

imprisonment, taking into consideration the disparity in the applicable guideline

ranges between convictions for distribution of cocaine base and cocaine powder.

(Sentencing Tr. 11-12, ECF 499.) He did not appeal.

      In his § 2255 motion, Dull alleges that counsel provided ineffective

assistance by coercing him into accepting the Plea Agreement, refusing to object to

the drug quantity set forth in the Plea Agreement and PSR, and advising him not to

challenge the drug quantity. (§ 2255 Mot. 4, ECF No. 484.)

                                        II.

      To state a viable claim for relief under § 2255, a defendant must prove: (1)

that his sentence was “imposed in violation of the Constitution or laws of the

United States”; (2) that “the court was without jurisdiction to impose such

sentence”; or (3) that “the sentence was in excess of the maximum authorized by

law, or is otherwise subject to collateral attack.” 28 U.S.C. § 2255(a). Dull bears

the burden of proving grounds for a collateral attack by a preponderance of the

evidence. Jacobs v. United States, 350 F.2d 571, 574 (4th Cir. 1965).

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      The Plea Agreement and PSR listed Dull’s base offense level as 30, but the PSR
recommended a three-point reduction for acceptance of responsibility.
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      The proper vehicle for a defendant to raise ineffective assistance of counsel

claims is by filing a § 2255 motion. United States v. Baptiste, 596 F.3d 214, 216

n.1 (4th Cir. 2010). However, in order to establish a viable claim of ineffective

assistance of counsel, a defendant must satisfy a two-prong analysis showing both

that counsel’s performance fell below an objective standard of reasonableness and

establishing prejudice due to counsel’s alleged deficient performance. Strickland

v. Washington, 466 U.S. 668, 687 (1984). When considering the reasonableness

prong of Strickland, courts apply a “strong presumption that counsel’s conduct

falls within the wide range of reasonable professional assistance.” Id. at 689; Gray

v. Branker, 529 F.3d 220, 228-29 (4th Cir. 2008). Counsel’s performance is

judged “on the facts of the particular case,” and assessed “from counsel’s

perspective at the time.” Strickland, 466 U.S. at 689, 690.

      To satisfy the prejudice prong of Stickland, a defendant must show that there

is a reasonable probability that, but for counsel’s unprofessional error, the outcome

of the proceeding would have been different. Id. at 694. A defendant who has

pleaded guilty must demonstrate that, but for counsel’s alleged error, there is a

reasonable probability that he would not have pleaded guilty and would have

insisted on going to trial. Hill v. Lockhart, 474 U.S. 52, 59 (1985). “A reasonable

probability is a probability sufficient to undermine confidence in the outcome.”

Strickland, 466 U.S. at 694.


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      Dull’s claims of ineffective assistance of counsel do not satisfy Strickland’s

stringent requirements. Accordingly, these claims will be dismissed.

      Dull first argues that counsel coerced him into pleading guilty. This claim is

directly contradicted by Dull’s affirmations under oath during the Rule 11 colloquy

that no one had threatened him or attempted to force him to plead guilty. (Plea

Hr’g Tr. 8, ECF No. 498.) See United States v. Lemaster, 403 F.3d 216, 221 (4th

Cir. 2005) (holding that absent extraordinary circumstances, “allegations in a §

2255 motion that directly contradict the petitioner’s sworn statements made during

a properly conducted Rule 11 colloquy are always ‘palpably incredible’ and

‘patently frivolous or false’”). Accordingly, this claim is frivolous.

      Next, Dull alleges that the Plea Agreement and the PSR overstated the drug

weight attributable to him, but his counsel advised him against challenging it and

stated that counsel “would take care of it.” (§ 2255 Motion 4, ECF No. 484.) Dull

claims that if the correct quantity of drugs had been attributed to him, his base

offense level would have been lower, resulting in a reduced guideline range. This

argument lacks merit.

      Dull makes the bald assertion that the drug quantity was inaccurate but he

provides no details or facts to support his claim.         “[V]ague and conclusory

allegations contained in a § 2255 petition may be disposed of without further

investigation by the District Court.” United States v. Dyess, 730 F.3d 354, 359


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(4th Cir. 2013) (citation omitted); Nickerson v. Lee, 971 F.2d 1125, 1136 (4th Cir.

1992) (noting that conclusory allegations of ineffective assistance of counsel,

without factual support, are insufficient to raise a constitutional issue or require an

evidentiary hearing) overruled on other grounds by Gray v. Netherland, 518 U.S.

152, 165-66 (1996).

      Dull also ignores the nature of a conspiracy when he argues that “his acts

related to the charged offense did not involve the 196 grams of cocaine base as

alleged in the presentence report and plea agreement.” (§ 2255 Motion 4, ECF No.

484.) A defendant convicted of conspiracy may be held accountable for all drugs

attributable to all members of the conspiracy. See United States v. Randall, 171

F.3d 195, 210 (4th Cir. 1999) (noting that “the district court may attribute to the

defendant the total amount of drugs involved in the conspiracy, provided the drug

quantities were reasonably foreseeable to the defendant and are within the scope of

the conspiratorial agreement”); United States v. Sesere, 413 F. App’x 653, 659 (4th

Cir. 2011) (unpublished).      Accordingly, as long as the drug quantities were

foreseeable to Dull, he can be held accountable not only for the drugs that he sold,

but for those drugs sold by other members of the conspiracy. As a result, his focus

on the amount of drugs that he alone sold, is misplaced.

      Finally, counsel’s decision not to challenge the drug quantity and his

recommendation that Dull do the same, appear to be sound strategy choices. See


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Yarborough v. Gentry, 540 U.S. 1, 5-6 (2003) (noting that “counsel has wide

latitude in deciding how best to represent a client”). By pleading guilty to a lesser

included offense, Dull avoided facing a mandatory minimum sentence of twenty

years pursuant to 21 U.S.C. § 841(b)(1)(A); instead he was exposed to a maximum

sentence of twenty years’ imprisonment pursuant to 21 U.S.C. § 841(b)(1)(C).

Moreover, counsel argued that Dull’s guidelines range should be 84 to 105 months,

rather than 100 to 123 months, because of the proposed amendments by the United

States Sentencing Commission to reduce drug guidelines by two levels.

(Sentencing Mem. 2, ECF No. 354.)          I considered these arguments when I

sentenced Dull to 92 months, which was eight months less than the bottom of his

applicable guidelines range. Therefore, Dull has not established that counsel’s

performance fell below an objective standard of reasonableness. Strickland, 466

U.S. at 687.

                                        III.

      For the foregoing reasons, I will grant the United States’ Motion to Dismiss

and dismiss the Motion to Vacate, Set Aside, or Correct Sentence. A separate

Final Order will be entered herewith.


                                               DATED: June 10, 2016

                                               /s/ James P. Jones
                                               United States District Judge


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